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             IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                       NO. 4:09CR00086-009 SWW

ROBERT LEE CANTWELL



                                  ORDER

      Pending before the Court is a pro se motion to be appointed as co-

counsel and/or discharge appointed attorney, with a formal request to

dismiss counts 1 and 3 by defendant [doc #87].      The government responds

[doc #88] that a mental evaluation is warranted.       After a review of the

pleadings, the Court is of the opinion that a response by the defendant

and his appointed counsel would facilitate the resolution of these

issues.   The Court therefore directs defense counsel, John Stratford, to

respond to defendant’s pro se motion and further directs the defendant

and his appointed counsel to reply to the government’s response within

twenty (20) days of the entry of this Order.

      IT IS SO ORDERED this 29th day of June 2009.




                                          /s/Susan Webber Wright
                                          UNITED STATES DISTRICT JUDGE
